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                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re:                                                                               Chapter: 7
         Cheryl Ann Long
Debtor(s)                                                                            Case No: 18−18466−ref
_____________________________________________________________________________________________
                                                       ORDER

    AND NOW, 5/1/19 , the debtor having failed to file either a statement regarding completion

of a course in personal financial management, see 11 U.S.C. § 727(a)(11); see also Bankruptcy

Rule 4004, or a request for a waiver from this requirement. 11 U.S.C. § 109(h)(4),



    And the statement regarding personal financial management was due, see Bankruptcy Rule 1007(c),



    Accordingly, it is hereby ORDERED that the debtor shall have until 5/15/19 to file a statement

regarding completion of an instructional course concerning personal financial management or a request for a
waiver

from such requirement. If the debtor fails to do so, then this case may be closed, without further notice or hearing,

and without the debtor receiving his/her chapter 7 discharge. See Advisory Committee Note to Fed. R. Bankr. P.

4004.




                                                                                For The Court

                                                                                Richard E. Fehling

                                                                                Chief Judge ,United States
                                                                                Bankruptcy Court




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